        Case 1:18-cr-00054-ADA-BAM Document 73 Filed 05/18/20 Page 1 of 2


1    VICTOR M. CHAVEZ, Bar #113752
     Attorney at Law
2    P.O. Box 5965
     Fresno, California 93755
3    Telephone: (559) 824-6293
4    Counsel for Defendant
     ABEL GREGORY CASTRO
5
6
                              IN THE UNITED STATES DISTRICT COURT
7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,                   Case No. 1:18-CR-00054-DAD-BAM
10
                     Plaintiff,                  STIPULATION CONTINUING
11                                               SENTENCING HEARING;
           vs.                                   ORDER
12
     ABEL GREGORY CASTRO
13                                               DATE: July 27, 2020
                     Defendant.                  TIME: 10:00 a.m.
14                                               JUDGE: Hon. DALE A. DROZD
15
16          IT IS HEREBY STIPULATED by and between the parties, through their respective

17 counsel, that the sentencing hearing now set for June 9, 2020, may be continued to July 27, 2020,
18 at 10:00 a.m. The defense proposes this stipulation because due to difficulties in communicating
19 with his client telephonically from the jail, counsel has not yet been able to complete a review of
20 the draft presentence report with the defendant. In addition, it is anticipated that some
21 investigation of criminal records will have to be undertaken.
22
                                                  Respectfully submitted,
23
                                                  MCGREGOR W. SCOTT
24                                                United States Attorney

25 Dated: May 18, 2020                            /s/ Laurel J. Montoya
                                                  LAUREL J. MONTOYA
26                                                Assistant United States Attorney
                                                  Attorney for Plaintiff
27
     Dated: May 18, 2020                          /s/ Victor M. Chavez
28                                                VICTOR M. CHAVEZ
                                                  Attorney for Defendant
                                                  ABEL GREGORY CASTRO
         Case 1:18-cr-00054-ADA-BAM Document 73 Filed 05/18/20 Page 2 of 2


1                                               PROPOSED ORDER

2            GOOD CAUSE APPEARING, the Court grants the stipulation of the parties. The

3    sentencing in this matter is hereby continued to July 27, 2020 at 10;00 A.M.

4    IT IS SO ORDERED.

5        Dated:     May 18, 2020
6                                                      UNITED STATES DISTRICT JUDGE

7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                      2
     Gregory Castro- Stipulation and Proposed Order
